              Case12-15760
             Case: 4:07-cv-05944-JST  Document
                              04/05/2012        1111-1 Filed
                                          ID: 8128680        03/23/12
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            April 05, 2012


       No.:                      12-15760
       D.C. No.:                 3:07-cv-05944-SC
                                 Indirect Purchaser Plaintiffs, et al v. Chunghwa Picture
       Short Title:
                                 Tubes, Ltd., et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.

       Appellants who are filing pro se should refer to the accompanying
       information sheet regarding the filing of informal briefs.
       Case12-15760
      Case: 4:07-cv-05944-JST  Document
                       04/05/2012        1111-1 Filed
                                   ID: 8128680        03/23/12
                                                 DktEntry: 1-2 Page
                                                                Page:2 2ofof3 3




                     UNITED STATES COURT OF APPEALS
                                                                        FILED
                            FOR THE NINTH CIRCUIT
                                                                       APR 05 2012
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




In re: CATHODE RAY TUBE (CRT)                   No. 12-15760
ANTITRUST LITIGATION,
                                                D.C. No. 3:07-cv-05944-SC
INDIRECT PURCHASER                              U.S. District Court for Northern
PLAINTIFFS,                                     California, San Francisco

              Plaintiff - Appellee,             TIME SCHEDULE ORDER

SEAN HULL,

              Objector - Appellant,

 v.

CHUNGHWA PICTURE TUBES, LTD.,
("Chunghwa PT") is a Taiwanese
company; CHUNGHWA PICTURE
TUBES (MALAYSIA) SDN. BHD.,
("Chunghwa Malaysia") is a Malaysian
company,

              Defendants - Appellees.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.
     Case12-15760
    Case: 4:07-cv-05944-JST  Document
                     04/05/2012        1111-1 Filed
                                 ID: 8128680        03/23/12
                                               DktEntry: 1-2 Page
                                                              Page:3 3ofof3 3

Mon., April 23, 2012        Transcript shall be ordered.
Tue., May 22, 2012          Transcript shall be filed by court reporter.
Mon., July 2, 2012          Appellant's opening brief and excerpts of record shall
                            be served and filed pursuant to FRAP 32 and 9th Cir.
                            R. 32-1.
Fri., August 3, 2012        Appellee's answering brief and excerpts of record
                            shall be served and filed pursuant to FRAP 32 and
                            9th Cir. R. 32-1.

The optional appellant's reply brief shall be filed and served within fourteen
days of service of the appellee's brief, pursuant to FRAP 32 and 9th Cir. R.
32-1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                               FOR THE COURT:
                                               Molly C. Dwyer
                                               Clerk of Court

                                               Ruben Talavera
                                               Deputy Clerk
